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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                       14 Cr. 68 (KBF)

                                 Plaintiff,                     MOTION FOR ADMISSION

                           -v-                                  PRO HAC VICE

ROSS WILLIAM ULBRICHT,

                                 Defendant.

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Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and Eastern

Districts of New York, I, Paul Grant, hereby move this Court for an Order for admission to

practice pro hac vice to appear as counsel for Ross William Ulbricht in the above-captioned

case.

I am in good standing at the bar of the state of Colorado and there are no pending disciplinary

proceedings against me in any state or federal court. I have never been convicted of a felony. I

have never been censured, suspended, disbarred or denied admission or readmission by any

court. I have attached the affidavit pursuant to Local Rule 1.3.

Dated: 6/23/2017

                                                  Respectfully submitted,

                                                  /s/ Paul Grant
                                                  Paul Grant
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